Case 1:25-cv-01275-CRC    Document 21-4   Filed 05/14/25   Page 1 of 3




                         EXHIBIT C
     Case 1:25-cv-01275-CRC        Document 21-4     Filed 05/14/25    Page 2 of 3




               CORONAVIRUS PREPAREDNESS AND RESPONSE
                SUPPLEMENTAL APPROPRIATIONS ACT, 2020

                       Pl 116-123, March 6, 2020, 134 Stat 146

                                       Title III

                  Department Of Health And Human Services

                     Centers for Disease Control and Prevention;
                     CDC–Wide Activities And Program Support

For an additional amount for “CDC–Wide Activities and Program Support,
$2,200,000,000, to remain available until September 30, 2022, to prevent, prepare
for, and respond to coronavirus, domestically or internationally:

Provided, That not less than $950,000,000 of the amount provided shall be for grants
to or cooperative agreements with States, localities, territories, tribes, tribal organi-
zations, urban Indian health organizations, or health service providers to tribes, to
carry out surveillance, epidemiology, laboratory capacity, infection control, mitiga-
tion, communications, and other preparedness and response activities:

Provided further, That $475,000,000 of the funds made available in the preceding
proviso shall be allocated within 30 days of the date of enactment of this Act:

Provided further, That every grantee that received a Public Health Emergency Pre-
paredness grant for fiscal year 2019 shall receive not less than 90 percent of that
grant level from funds provided in the first proviso under this heading in this Act,
and not less than $40,000,000 of such funds shall be allocated to tribes, tribal organ-
izations, urban Indian health organizations, or health service providers to tribes:

Provided further, That the Director of the Centers for Disease Control and Prevention
(“CDC”) may satisfy the funding thresholds outlined in the preceding two provisos by
making awards through other grant or cooperative agreement mechanisms:

Provided further, That each grantee described in the third proviso under this heading
in this Act shall submit a spend plan to the CDC not later than 45 days after the date
of enactment of this Act:

Provided further, That of the amount provided under this heading in this Act, not less
than $300,000,000 shall be for global disease detection and emergency response:

Provided further, That of the amount provided under this heading in this Act,
$300,000,000 shall be transferred to and merged with amounts in the Infectious
     Case 1:25-cv-01275-CRC      Document 21-4      Filed 05/14/25   Page 3 of 3




Diseases Rapid Response Reserve Fund (“Reserve Fund”), established by section 231
of division B of Public Law 115–245:

Provided further, That the Secretary of Health and Human Services, in consultation
with the Director of the CDC, shall provide a report to the Committees on Appropri-
ations of the House of Representatives and the Senate every 14 days, for one year
from the date from any such declaration or determination described in the third pro-
viso of section 231 of division B of Public Law 115–245, that details commitment and
obligation information for the Reserve Fund during the prior two weeks, as long as
such report would detail obligations in excess of $5,000,000, and upon the request by
such Committees:

Provided further, That funds appropriated under this heading in this Act may be used
for grants for the construction, alteration, or renovation of non-Federally owned fa-
cilities to improve preparedness and response capability at the State and local level:

Provided further, That funds may be used for purchase and insurance of official motor
vehicles in foreign countries:

Provided further, That such amount is designated by the Congress as being for an
emergency requirement pursuant to section 251(b)(2)(A)(i) of the Balanced Budget
and Emergency Deficit Control Act of 1985.
